 Fill in this information to identify the case:

 Debtor 1              Roxanne Kay Casaert                                                       _

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:                            District of   Kansas
                                                                                  (State)
 Case number            22-20589-rdb




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                     12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: Nationstar Mortgage LLC                                                    Court claim no. (if known): 4


 Last 4 digits of any number you use to                                                       Date of payment change:
                                                     XXXXXX9962                                                                         06/01/2024
 identify the debtor’s account:                                                               Must be at least 21 days after date
                                                                                              of this notice


                                                                                              New total payment:                        $ 1,425.61
                                                                                              Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      X Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      the basis for the change. If a statement is not attached, explain why:


                   Current escrow payment: $ 593.12                                         New escrow payment:         $ 618.06


 Part 2:         Mortgage Payment Adjustment


 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      X    No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why:


                   Current interest rate:                         %                         New interest rate:                             %

                   Current principal and interest payment: $                                New principal and interest payment: $


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      X    No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change:                                                                                                                 _

                   Current mortgage payment: $                                              New mortgage payment: $


Official Form 410S1                                         Notice of Mortgage Payment Change                                                        page 1
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Debtor 1          Roxanne Kay Casaert                                                  _         Case number (if known) 22-20589-rdb
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
     √I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



  s/ Hunter C. Gould
     Signature
                                                                                                 Date     5/9/2024
                                                                                                           _




 Print:              Hunter Gould                                                           _    Title
                                                                                                         Attorney
                    First Name                      Middle Name          Last Name



 Company             SouthLaw, P.C.                                                         _



 Address             13160 Foster, Suite 100                                                _
                    Number                 Street

                     Overland Park, KS 66213-2660
                    City                                                 State        ZIP Code



 Contact phone      (913) 663-7600                                                               Email   ksbkecf@southlaw.com




Official Form 410S1                                                    Notice of Mortgage Payment Change                               page 2
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF KANSAS

 In Re:                                                             )
                                                                    )
 Roxanne Kay Casaert, Debtor                                        )
                                                                    )    Case No. 22-20589-rdb
 Nationstar Mortgage LLC, Creditor                                  )
                                                                    )    Chapter: 13
 vs.                                                                )
                                                                    )
 Roxanne Kay Casaert, Debtor                                        )
                                                                    )
 and                                                                )
                                                                    )
 William H. Griffin, Trustee                                        )

                               CERTIFICATE OF MAILING/SERVICE

The undersigned does hereby certify that a true and correct copy of the foregoing was filed electronically
on this May 9, 2024 with the United States Bankruptcy Court for the District of Kansas, and shall be served
on the parties in interest via email by the Court pursuant to CM/ECF as set out on the Notice of Electronic
Filing as issued by the Court and shall be served by U.S. Mail, First Class, postage prepaid, on those parties
directed by the Court on the Notice of Electronic Filing issued by the Court and as required by the Federal
Rules of Bankruptcy Procedure and the Local Rules of the United States Bankruptcy Court.

Roxanne Kay Casaert                                        SOUTHLAW, P.C.
300 West 7th Street
Edgerton, KS 66021                                           s/ Hunter C. Gould
DEBTOR
                                                           Steven L. Crouch, (MBE #37783; EDMO
                                                           #2903; KSFd #70244)
Errin P Stowell
                                                           Wendee Elliott-Clement (MBE #50311; KS
15095 W 116th St
                                                           #20523)
Olathe, KS 66062
                                                           Hunter C. Gould (MBE #65355; #KSFd #78608;
ATTORNEY FOR DEBTOR
                                                           KS#29961)
                                                           13160 Foster, Suite 100
William H. Griffin
                                                           Overland Park, KS 66213-2660
5115 Roe Blvd., Ste. 200
                                                           (913) 663-7600
Roeland Park, KS 66205-2393
                                                           (913) 663-7899 Fax
TRUSTEE
                                                           ksbkecf@southlaw.com
                                                           ATTORNEYS FOR CREDITOR
Office of the United States Trustee
301 North Main, Suite 1150
Wichita, KS 67202
U.S. TRUSTEE




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